Exhibit 11
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A


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Anderson Manufacturing    Apex                              ARMS                                  ASC

ASP




B


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C


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D


D&H                       DoubleStar                        DSI
E


Elite Tactical Systems     Excel Arms




F


FNH USA




G


Galco                      Geissele     Glock     Gould & Goodrich




H


Hogue                      Hoppe's




I


Israel Weapon Industries   IWI




K


Kahr                       Kel-Tec      Kershaw




L
Lancer Systems     LaserMax                 Law Enforcement Targets, Inc.   Leatherman

Leupold            Lone Wolf




M


Mace               Magnum Research          Mechanix Wear                   Meprolight

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N


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P


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R


Radical Firearms   Remington                Rise Armament                   Ruger




S


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T


Tetra Gun Care                           Trijicon                        Troy Industries




U


Uncle Mike's                             US Palm




V


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W


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Y


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